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4
     Attorney for Defendant
5    LEOBARDO OLAZABAL CARRANZA
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )          No. 09-CR-206-GEB
                                     )
13                  Plaintiff,       )
                                     )          SUBSTITUTION OF COUNSEL FOR
14        v.                         )          DEFENDANT LEOBARDO
                                     )          OLAZABAL CARRANZA
15   LEOBARDO OLAZABAL               )
     CARRANZA,                       )
16                                   )
                    Defendant.       )
17   _______________________________ )
18         Defendant Leobardo Olazabal Carranza, through counsel, hereby moves to
19   substitute John Balazs for Gilbert Roque as appointed counsel of record for purposes of
20   appeal. On April 29, 2011, the Court sentenced Mr. Carranza to 120 months
21   imprisonment. Mr. Carranza desires to appeal. Mr. Balazs has agreed to accept the
22   appointment to represent Mr. Carranza on appeal.
23   ///
24   ///
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1          For these reasons, defendant Carranza respectfully moves to substitute John Balazs
2    for Gilbert A. Roque as counsel of record in this case.
3          I agree to the substitution.
4
5          Dated: May 3, 2011
                                                  /s/ Leobardo Olazabal Carranza
6                                                 Leobardo Olazabal Carranza
                                                  Defendant [original signature on file]
7
8
           Dated: May 3, 2011
9
                                                  /s/ Gilbert A. Roque
10                                                Gilbert A. Roque
11                                                Attorney for Defendant
                                                  Gilbert A. Roque
12
13
           Dated: May 3, 2011
14                                                /s/ John Balazs
                                                  JOHN BALAZS
15                                                Attorney Seeking Appointment
16
17
18
19
                                              ORDER
20
           IT IS SO ORDERED.
21
22   Dated: May 10, 2011

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24                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
25
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